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 1    Arjun Vasan
 2    arjun.vasan@gmail.com
 3    12615 193rd Street
 4    Cerritos, CA 90703
 5    562-900-6541
 6    Plaintiff in Pro Per
 7
 8
 9                          UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
10
11
      Arjun Vasan,                                          Case No.: 2:25−cv−00765−MEMF−JPR
12
                    Plaintiff,                              Hon. Maame Ewusi-Mensah Frimpong
13
            vs.                                             PLAINTIFF’S REQUEST FOR
14
      Checkmate.com, Inc.,                                  JUDICIAL NOTICE RE: CENTRAL
15                                                          ROLE OF PLAINTIFF’S CALIFORNIA
      (dba “Checkmate”),
16                                                          BASED SUPERVISOR, MICHAEL BELL,
                    Defendant.                              IN THIS DISPUTE
17
18
                                                            Hearing date: June 5th, 2025
19                                                          Time: 10 am
20                                                          Complaint Filed: January 28, 2025
21
22
23    TO THE HONORABLE COURT:
24           Plaintiff respectfully requests that the Court take judicial notice of the following facts
25    pursuant to Federal Rule of Evidence 201(b)(2):
26
27
             I. FACTS SUBJECT TO NOTICE
28
                                                        1

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 1
 2            1. Mr. Bell is referenced by name 41 times in Plaintiff's operative Complaint — more
 3    than any other individual aside from Plaintiff himself. (See ECF No. 10). This count is based on
 4    a word-search count of the PDF using standard text-search functionality. The Court may take
 5    notice of the frequency of mentions, not the truth of the paragraphs that mention Bell.
 6            2. Public press releases issued by Defendant and its affiliates in connection with the
 7    acquisition of the VoiceBite team quote Mr. Bell in his capacity as a senior strategic executive
 8    and identify him as a spokesperson for the transaction. (See Exhibit A). The Court may take
 9    notice of the press release not for the truth of its contents but for its existence, date of posting and
10    that Michael Bell is quoted.
11
12            II. PREVIOUSLY NOTICED FACTS
13            Plaintiff has previously requested judicial notice of the following documents, which are
14    incorporated here by reference for context and continuity only. Plaintiff does not seek renewed
15    notice of these materials:
16            1. SEC filings submitted to the United States Securities and Exchange Commission
17    identifying Michael Bell as a senior executive of Defendant Checkmate.com, Inc., and describing
18    him as a long-time resident of Southern California, with a listed business address in Manhattan
19    Beach. (See ECF No. 27, Ex. E).
20            2. Mr. Bell's professional biography on LinkedIn confirming his executive affiliation with
21    Checkmate.com, Inc., identifying his location as the Greater Los Angeles Area, and listing over
22    40 mutual professional connections with Plaintiff, including former VoiceBite co-founders
23    Robert Nessler and Christopher Lam. (See ECF No. 27, Ex. E).
24
25            III. RELEVANCE TO PENDING VENUE MOTION
26            These facts are relevant to the pending motion regarding venue and forum selection
27    because they establish the central role of a California-based supervisor in the employment
28    relationship at issue. Mr. Michael Bell served as Plaintiff's direct supervisor during Plaintiff's
                                                         2

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 1    employment at Checkmate, as documented in his Complaint (ECF No. 10, ¶¶ 13, 15–17, 19, 23,
 2    25, 30, 36–37, 43, 46, 56, 105–106, 114, 117, 120–122, 126) and in his declaration. (ECF No.
 3    27-1, ¶¶ 3, 5). The frequency with which Mr. Bell is referenced in the operative Complaint (41
 4    times) objectively demonstrates his centrality to the factual allegations underlying this dispute,
 5    creating a substantial California nexus.
 6           Bell’s lack of a sworn declaration in support of Defendant’s Motion to Dismiss or
 7    Transfer (ECF No. 18) or its Reply (ECF No. 32), despite being a key figure in the underlying
 8    events, further demonstrates his potential importance as a witness located in California
 9           The Court may properly take judicial notice of the number of references to Mr. Bell in
10    Plaintiff's Complaint as this is an objectively verifiable fact from the Court's own records.
11
12           IV. LEGAL STANDARD FOR NOTICE
13           Judicial notice is proper under Federal Rule of Evidence 201(b)(2) because the above
14    facts are derived from court records, public press releases, and the observable content of filings
15    already submitted to this Court, all of which are not subject to reasonable dispute and are capable
16    of accurate and ready determination from sources whose accuracy cannot reasonably be
17    questioned. See Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001) (courts may take
18    judicial notice of matters of public record).
19           The objective fact that a particular individual is frequently referenced in pleadings is
20    something courts can notice as it relates to the content of their own records. See U.S. v. Author
21    Services, 804 F.2d 1520, 1523 (9th Cir. 1986) (courts may take judicial notice of their own
22    records).
23
24           V. DECLARATION OF ARJUN VASAN
25           I, Arjun Vasan, declare as follows:
26       1. I am the Plaintiff in this action, appearing in pro per. I have personal knowledge of the
27           facts set forth in this declaration and, if called upon to testify, could and would testify
28           competently to them under oath.
                                                        3

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 1       2. Attached hereto as Exhibit A is a true and correct copy of a press release titled
 2           “Checkmate Acquires VoiceBite, Giving Restaurants an Integrated Voice AI Solution for
 3           Phone Ordering, Drive-Thru, and Whatever Comes Next,” dated May 8, 2024. I obtained
 4           this document from the publicly available website PRWeb.com, a recognized public
 5           newswire service, at the following URL:
 6                   https://www.prweb.com/releases/checkmate-acquires-voicebite-
 7                   giving-restaurants-an-integrated-voice-ai-solution-for-phone-
 8                   ordering-drive-thru-and-whatever-comes-next-302139563.html
 9       3. I accessed and downloaded the press release on April 23, 2025, for purposes of
10           submitting it in support of my Request for Judicial Notice filed concurrently herewith.
11       4. I am informed and believe, based on my review of the PRWeb.com website and its
12           business practices, that it is a reputable source of press releases issued by companies and
13           disseminated through public wire distribution services.
14
15    I declare under penalty of perjury under the laws of the United States of America that the
16    foregoing is true and correct.
17
                                                           Respectfully Submitted,
18
19
20     Executed on: Thursday, April 24, 2025,

21     In Cerritos, CA                                     /s/ Arjun Vasan
22
                                               By:         ___________________________________
23
24                                                         Arjun Vasan
                                                           Plaintiff In Pro Per
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                                                       4

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                 EXHIBIT A
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                         Exhibit A - Michael Bell Press Release



Checkmate acquires VoiceBite, giving
restaurants an integrated voice AI solution
for phone ordering, drive-thru, and
whatever comes next


NEWS PROVIDED BY
Checkmate
May 08, 2024, 18:25 ET




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 Checkmate Logo




Acquiring VoiceBite helps brands build smarter solutions in one of the fastest-growing areas of
restaurant technology, improving operations and driving sales.


NEW YORK CITY, N.Y., May 8, 2024 /PRNewswire-PRWeb/ -- Checkmate, a leading restaurant
ordering solutions provider, today announced it acquired VoiceBite, a voice AI company that
automates the restaurant ordering process with a better-than-human experience. Their
solution is built from the ground up using advanced Large Language Models (LLMs) that power
today's AI solutions, giving them the ability to learn and iterate faster. Today, VoiceBite has been
able to handle over 95% of voice-ordering scenarios without human intervention.
                                                                                                
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VoiceBite                                    #:839
                        Exhibit A - Michael Bell Press Release
    "After collaborating with their team, we realized coming together
   would allow us to deliver exponentially more value through seamless,
    conversational AI ordering across all channels. This unification will
         rapidly accelerate voice AI development for restaurants."

                                             Post this



was designed to use the restaurant's existing phone number, integrate with the POS, and get
up and running in days. The plug-and-play setup requires zero staff training. As a part of the
Checkmate platform, VoiceBite's technology will help restaurants reduce operational expenses,
expedite order fulfillment, and boost profit margins.



Voice AI as a whole is still a relatively new technology, and many solutions on the market are
built on older data models that aren't designed to interact with customers naturally as humans
would. By acquiring VoiceBite, Checkmate also removes a layer of friction, allowing brands to
offer AI ordering experiences through a unified platform, making it easy to go live in days, not
months, and instantly track customer data alongside other channels.


Key benefits


Seamless integration & implementation: Checkmate's expertise in menu management and
POS integrations means adding voice AI is straightforward, so your staff can focus on more
high-value tasks.


Smart upselling: VoiceBite's upselling engine suggests the perfect add-on item based on the
customer's order. The customizable feature is tailored for the highest conversion rate items,
giving brands a reliable way to increase ticket size.


Context-aware: Intelligently interprets vague requests, like choosing the largest size of wings (as
opposed to 100 wings) or recalling past preferences during a call, allowing customers to order
as they normally would at the restaurant.

                                                                                                 
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Multilingual human voices: Use voices with the friendly and engaging tone of your best
                                             #:840
employee with support for multiple languages to expand your reach. Gone are the days of
robotic monotone voices and lifeless conversations.
                        Exhibit A - Michael Bell Press Release
Natural cadence: VoiceBite's AI seamlessly handles interruptions mid-conversation, addressing
customers' immediate requests and continuing the order for an intuitive experience.


Text ordering & payment: This feature facilitates easy order placement and secure payments via
text, adding another layer of convenience to make the ordering process even faster.


Hands-on support: With VoiceBite now part of Checkmate, you get the same reliable customer
service and 24/7 support to answer questions, resolve issues, and keep operations running
smoothly.


"Acquiring VoiceBite allows us to provide a truly unified ordering experience for our restaurant
partners," said Mike Bell, Checkmate's Chief of Strategy. "By integrating voice AI capabilities
directly into our platform, restaurants can now offer seamless phone ordering and drive-thru
(coming Q4 2024) alongside their other digital channels. This improves operational efficiency
while delivering the exceptional service that keeps customers coming back."


"We're thrilled to join Checkmate and combine our advanced voice AI ordering with their
solutions and integrations," said Robert Nessler, Founder & CEO of VoiceBite. "After
collaborating with their team, we realized coming together would allow us to deliver
exponentially more value through seamless, conversational AI ordering across all channels. This
unification will rapidly accelerate voice AI development for restaurants."


With this acquisition, Checkmate further solidifies its position as an industry leader in the
restaurant technology space. Restaurants using Checkmate gain access to an all-in-one
platform powered by advanced voice AI, ensuring a consistent ordering experience no matter
how their customers choose to engage. As the digital landscape evolves based on consumer
demand and market forces, Checkmate will continue to expand its solutions to help brands
grow their businesses however they choose.

                                                                                                  
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About Checkmate                               #:841
                        Exhibit A - Michael Bell Press Release
Checkmate empowers enterprise restaurant brands with powerful ordering solutions and
hands-on support. Our scalable technology enables restaurants to drive sales across channels,
including custom websites, apps, kiosks, catering, third-party marketplaces, voice AI, and more.
With seamless integrations, smarter analytics, and 24/7 service, Checkmate helps brands
conquer their digital goals. Restaurants can launch unique ordering experiences, centrally
manage menus, recapture revenue, leverage customer data, and continually adapt with new
integrations. Regardless of how you want to grow, Checkmate has the tools and guidance to
power, manage, and evolve your digital business. Learn more at itsacheckmate.com.


About VoiceBite


With over 20 years of combined experience in the Voice AI restaurant space on the phone and
in the drive-thru. The VoiceBite team has developed voice automation products in previous
ventures that are live in hundreds of QSRs, seamlessly processing millions of orders. The
VoiceBite team is driven by the mission to leverage AI and automate the ordering process with
a better-than-human experience. Brands using their offerings to reduce expenses, increase
operational efficiency, and boost margins with seamless service that never misses a beat.


Media Contact


Jay Brasher, Champion MGT, 1 8064379583, jbrasher@championmgt.com,
https://www.itsacheckmate.com/


SOURCE Checkmate




https://www.prweb.com/releases/checkmate-acquires-voicebite-giving-restaurants-an-integrated-voice-ai-
solution-for-phone-ordering-drive-thru-and-whatever-comes-next-302139563.html




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